    8:08-cr-00351-JFB-TDT   Doc # 94   Filed: 05/04/09    Page 1 of 1 - Page ID # 226




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )            8:08CR351
              Plaintiff,               )
                                       )
   vs.                                 )                 ORDER
                                       )
THOMAS PRETENDS EAGLE,                 )
                                       )
              Defendant.               )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.
   IT IS ORDERED:

   Jacqueline G. Foland-Sieck is appointed to represent the above named
defendant in this matter and shall forthwith file an appearance in this
matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and Jacqueline G. Foland-Sieck.
   DATED this 4th day of May, 2009.

                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge
